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                        UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF LOUISIANA
                           LAKE CHARLES DIVISION


 STATE OF LOUISIANA                               CASE NO. 2:23-CV-00692

 VERSUS                                           JUDGE JAMES D. CAIN, JR.

 U S ENVIRONMENTAL PROTECTION                     MAGISTRATE JUDGE KAY
 AGENCY ET AL

                           PRELIMINARY INJUNCTION

       Pursuant to the Memorandum Ruling and Judgment of this date,

       IT IS ORDERED, ADJUDGED, AND DECREED that pursuant to Federal Rule

 of Civil Procedure 65, the State of Louisiana’s Motion for Preliminary Injunction is

 GRANTED as follows:

       Defendants, the United States Environment Protection Agency (“EPA”), Michael

 Regan, Lilian Dorka, U S Department of Justice (“DOJ”), Merrick Garland, United States

 of America, are hereby preliminarily ENJOINED from

       (1) Imposing or enforcing any disparate impact based requirements against the State

          of Louisiana or any State agency under Title VI, and

       (2) Imposing or enforcing any Title VI based requirements upon the State of

          Louisiana or any State agency under Title VI, that are not both

              a. Ratified by the President, as required by 42 U.S.C. § 2000d-1, and

              b. Based upon requirements found within the four corners of EPA’s

                 disparate impact regulations, 40 C. F. R. § 7.35(b),(c).
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       The Court is not ordering that bond is required.

       THUS DONE AND SIGNED in Chambers on this 23rd day of January, 2024.


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                              JAMES D. CAIN, JR.
                         UNITED STATE DISTRICT JUDGE
